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                                                    March 30, 2021



VIA E-FILING
Honorable Ronnie Abrams, U.S.D.J.
United States District Court
 for the Southern District of New York
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, New York 10007

       Re:    Linnea Michaels, et al. v. Fellowships at Auschwitz for the Study
              of Professional Ethics, et al.; Civil Action No. 1:20-cv-05414-RA

Dear Judge Abrams:

        This firm represents the three Plaintiffs – Linnea Michaels, Mary-Kathryn Zoni and Rev.
Susan J. McCone – in the above-referenced matter. Counsel for the eight Defendants and I have
had several communications in the past week, carrying through earlier today, during which we
have been discussing a stipulation to dismiss the Complaint from federal court pursuant to
F.R.C.P. 41(a)(2), the amendment of certain claims and removal of certain individually named
Defendants, the filing of a similar action in state court, and the exploration of mediation as a
possible avenue toward resolution. Defendants have provided their consent to extend the filing
deadline for Plaintiffs’ opposition to their pending motion for two weeks, so that we can confirm
and facilitate the most appropriate path forward. We respectfully request the Court’s approval of
that extension to April 13, 2021 and thank you for the Court’s continuing courtesies.

                                                    Respectfully submitted,

                                                    s / James P. Gianakis

                                                    James P. Gianakis

cc:    David E. Strand, Esq. (via e-filing)
